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                                      UNITED STATES
                          SECURITIES AND EXCHANGE COMMISSION
Y




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                                                              February 26, 2020
    Via ECF

    Hon. P. Kevin Castel
    United States District Judge
    Southern District of New York
    500 Pearl Street
    New York, NY 10007

          Re:    SEC v. Telegram Group Inc. & TON Issuer Inc., No. 19 Civ. 9439 (PKC)

Dear Judge Castel:

         Plaintiff Securities and Exchange Commission (“SEC”) respectfully hereby files certain
Exhibits to the Declaration of Ladan F. Stewart in Support of the SEC’s Motion for Summary
Judgment (D.E. 122) (“Stewart Decl.”) and the Declaration of Ladan F. Stewart in Opposition to
Defendants’ Motion for Summary Judgment (D.E. 123). As the SEC explained in its cover letter
accompanying these filings (D.E. 82, 100), the SEC did not file certain exhibits in the public
docket, because those exhibits had been designated “Confidential” by the producing party
pursuant to the standing Protective Order (D.E. 36) (the “Withheld Documents”). Since those
filings, certain third parties (D.E. 105, 135, 138, 139, 142, 143, 148, 152, and 157) and
Defendants (D.E. 158) have moved to seal all or portions of some of the Withheld Documents.

         After these filings, only PX42, PX50, PX56, PX59, PX91, PX103, PX104, and PX146
have not been the subject of a motion to seal and have not been filed in the public docket in any
form. Accordingly, the SEC is filing those exhibits on the public docket today. The SEC is also
filing on the public docket a corrected copy of PX15, which was previously filed at D.E. 122-15
(missing page 00000573) and D.E. 144-1 (currently sealed). Where relevant, the SEC is also
filing its proposed redactions to PX15, PX59, PX91 and PX146, in accordance with the Southern
District of New York’s procedures for filing proposed redacted documents.

        Additionally, the SEC moved to temporarily seal the Application for a Letter of Request
(D.E. 43), as well as several exhibits to the Declaration of Kevin McGrath (D.E. 124-7, 124-13,
124-14), based on investors’ concerns with respect to certain redactions of personal identifying
information. The SEC is refiling those documents with proposed redactions of personal
identifying information today.
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                                           Respectfully submitted,

                                           s/ Alison R. Levine
                                           Alison R. Levine

Encls.

cc:      All Counsel of Record (by ECF)
